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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

 MARK ORGAN                                    )
 541 Mosgrove Street                           )   Case No: 3:14-cv-27
 Urbana, Ohio 43078                            )
                                               )   JURY DEMAND REQUESTED
               Plaintiff,                      )
                                               )   VERIFIED CIVIL COMPLAINT
       v.
                                               )   (Unlawful Debt Collection Practices)
                                               )
 PMAB, LLC                                     )
 c/o CT Corporation System                     )
 1300 East 9th Street                          )
 Cleveland, Ohio 44114,                        )
                                               )
               Defendant.                      )
                                               )

                              VERIFIED COMPLAINT

       PLAINTIFF, Mark Organ (Plaintiff), by his attorneys, KAHN AND
 ASSOCIATES, L.L.C., alleges the following against DEFENDANT, PMAB, LLC
 (Defendant):

                                   INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

       U.S.C. 1692 et seq. (FDCPA).

                             JURISDICTION AND VENUE

    2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

       such actions may be brought and heard before “any appropriate United States

       district court without regard to the amount in controversy,” and 28 U.S.C. 1367

       grants this court supplemental jurisdiction over the state claims contained therein.

    3. Because Defendant conducts business in Ohio, personal jurisdiction is

       established.
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    4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                        PARTIES

    5. Plaintiff is a natural person who resides in the City of Urbana, Champaign

       County, Ohio and is allegedly obligated to pay a debt, and Plaintiff is a

       “consumer” as that term is defined by 15 U.S.C. 1692a(3).

    6. Pursuant to the definitions outlined in 15 U.S.C. 1692a(1-6),Defendant is a debt

       collector and sought to collect a consumer debt from Plaintiff which was

       allegedly due and owing from Plaintiff, and Plaintiff is a consumer debtor.

    7. Defendant is a North Carolina limited liability company and debt collector with

       an office in Cincinnati, Ohio.

    8. Defendant uses instrumentalities of interstate commerce or the mails in any

       business the principal purpose of which is the collection of any debts, or who

       regularly collects or attempts to collect, directly or indirectly, debts owed or due

       or asserted to be owed or due another and is a "debt collector" as that term is

       defined by 15 U.S.C. § 1692a(6).

    9. Defendant is a collection agency that in the ordinary course of business,

       regularly, on behalf of itself or others, engages in debt collection.

                             FACTUAL ALLEGATIONS

    10. Defendant is seeking to collect an allegedly due and owed consumer debt

       obligation which was incurred for personal, family, or household purposes.

    11. Defendant, using telephone number 704.553.7146, places repeated, frequent, and

       excessive collection calls to Plaintiff at telephone number 937.508.4512.
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    12. Defendant has called Plaintiff and accused him of missing payments when in fact

       Plaintiff did make the payment to Defendant.

    13. Defendant’s agent began to argue with Plaintiff regarding the allegedly missed

       payment. After this confrontation occurred, Defendant began calling Plaintiff and

       then immediately hanging up on him when he answered.

    14. Defendant places calls to Plaintiff on an almost daily basis. Defendant’s frequent

       calls where Defendant hangs up evidences that Defendant is placing calls to

       Plaintiff for purposes of making his telephone ring with the intent of harassment

       or annoyance.

                                         COUNT I

 DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

    15. Defendant violated the FDCPA based on the following:

           a. Defendant violated §1692d by engaging in conduct the natural

               consequence of which is to harass, oppress, or abuse any person in

               connection with the collection of a debt.

           b. Defendant violated §1692d(5) by causing a telephone to ring or engaging

               any person in telephone conversation repeatedly or continuously with

               intent to annoy, abuse, or harass any person at the called number.

           c. Defendant violated §1692e(10) by the use of any false representation or

               deceptive means to collect or attempt to collect a debt or obtain

               information concerning a consumer.

           d. Defendant violated §1692f by using any unfair or unconscionable means

               to collect or attempt to collect a debt.
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        WHEREFORE, Plaintiff, Mark Organ, respectfully requests judgment be entered

 against Defendant, for the following:

    16. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices

        Act, 15 U.S.C. 1692k,

    17. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

        Practices Act, 15 U.S.C. 1692k

    18. Any other relief that this Honorable Court deems appropriate.

                              DEMAND FOR JURY TRIAL

        Plaintiff, Mark Organ, requests a jury trial in this case.

                                               RESPECTFULLY SUBMITTED,

                                               KAHN & ASSOCIATES, L.L.C.

                                               ___/s/ J. Daniel Scharville  _____
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